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March 10, 2021


Via ECF

The Honorable Lorna G. Schofield
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

          Re:    United States v. Stephen M. Calk, S1 19 Cr. 366 (LGS)

Dear Judge Schofield:

        We represent the defendant, Stephen M. Calk, in the above-captioned action. Pursuant to
the Court’s March 5, 2021 Order (Dkt No. 177), we write in advance of the arraignment hearing
to be held on March 25, 2021, to confirm Mr. Calk’s consent to proceed virtually over Zoom.


Respectfully submitted,

/s/ Paul H. Schoeman

Paul H. Schoeman
Darren A. LaVerne

cc:       All counsel (via ECF)




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